    Case: 1:17-md-02804-DAP Doc #: 499 Filed: 05/25/18 1 of 7. PageID #: 7632




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                          MDL No. 2804
OPIATE LITIGATION
                                                     Case No. 17-md-2804
This document relates to:
The County of Summit, Ohio, et al. v. Purdue         Hon. Dan Aaron Polster
Pharma L.P., et al.
Case No. 18-op-45090


           MANUFACTURER DEFENDANTS’ JOINT MOTION TO DISMISS
                PLAINTIFFS’ SECOND AMENDED COMPLAINT


       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, the Manufacturer

Defendants 1 move this Court to dismiss all claims asserted against them in Plaintiffs’ Second

1
  “Manufacturer Defendants” refers to Purdue Pharma LP, Purdue Pharma Inc., and The Purdue
Frederick Company Inc. (“Purdue”); Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson
Pharmaceuticals, Inc. (“Allergan/Actavis”); Watson Laboratories, Inc., Actavis Pharma, Inc.;
Actavis LLC; Teva Pharmaceuticals, USA, Inc.; and Cephalon, Inc. (“Teva”); Johnson &
Johnson (“J&J”) and Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals,
Inc., and Janssen Pharmaceutica, Inc. (“Janssen”); Endo Health Solutions Inc. and Endo
Pharmaceuticals Inc. (“Endo”); Insys Therapeutics, Inc. (“Insys”); and Mallinckrodt LLC
(“Mallinckrodt”). Defendant Noramco, Inc., a company referenced in the Second Amended
Complaint (“2AC”) as a former affiliate of Janssen (see 2AC ¶ 80), joins in this Motion to the
extent applicable. Noramco does not (and did not at all material times relevant hereto)
manufacture, package, brand, market, distribute, or sell the finished drug products at issue in this
litigation, and it reserves all rights and defenses specific to it. Although the arguments raised
herein apply equally to Teva Pharmaceutical Industries Ltd., Allergan plc, and Mallinckrodt plc,
these Manufacturer Defendants do not join this motion because they are an Israeli corporation,
Irish holding company, and Irish company, respectively, that have not been served and over
which no personal jurisdiction exists. Further, the 2AC added Defendant SpecGX LLC, an
affiliate of Mallinckrodt, as a party on May 18, 2018. See 2AC at 2 n.2. SpecGX LLC has not
been served, but nonetheless adopts in full the arguments made in this Motion. Two new
Defendants, Par Pharmaceutical, Inc., and Par Pharmaceutical Companies, Inc. (which is actually
now known as Endo Generics Holding), defined collectively by Plaintiffs in the 2AC as “Endo,”
were only recently named in an amendment to the complaint and have not yet been served. Id.
The 2AC should, however, be dismissed as to them for the reasons raised in this brief.
    Case: 1:17-md-02804-DAP Doc #: 499 Filed: 05/25/18 2 of 7. PageID #: 7633




Amended Complaint for failure to state a claim upon which relief can be granted. This Motion

will be supported by the pleadings, the record, a Memorandum of Law in Support of the

Manufacturer Defendants’ Joint Motion to Dismiss Plaintiffs’ Second Amended Complaint,

which is filed contemporaneously herewith and incorporated herein by reference, oral argument,

and any other evidence requested or permitted by the Court.

       WHEREFORE, the Manufacturer Defendants respectfully request that the Court grant

their Motion in its entirety and dismiss all of Plaintiffs’ claims against them with prejudice.



Dated: May 25, 2018                             Respectfully submitted,


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                                                  2
Case: 1:17-md-02804-DAP Doc #: 499 Filed: 05/25/18 3 of 7. PageID #: 7634




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                                   3
Case: 1:17-md-02804-DAP Doc #: 499 Filed: 05/25/18 4 of 7. PageID #: 7635




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                                   4
Case: 1:17-md-02804-DAP Doc #: 499 Filed: 05/25/18 5 of 7. PageID #: 7636




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                                   5
Case: 1:17-md-02804-DAP Doc #: 499 Filed: 05/25/18 6 of 7. PageID #: 7637




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                                   6
    Case: 1:17-md-02804-DAP Doc #: 499 Filed: 05/25/18 7 of 7. PageID #: 7638




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2018, a copy of the foregoing Manufacturer

Defendants’ Joint Motion to Dismiss Plaintiffs’ Second Amended Complaint was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



Dated: May 25, 2018                            /s/ Charles C. Lifland

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